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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


                                 FEE APPLICATION COVER SHEET

   In re: Aluminum Shapes, L.L.C.                     Applicant: Berkeley Research Group, LLC

   Case No.: 21-16520 (JNP)                           Client: The Official Committee of
                                                      Unsecured Creditors

   Chapter: 11                                        Case Filed: August 15, 2021


            BERKELEY RESEARCH GROUP, LLC THIRD INTERIM AND FINAL
                FEE APPLICATION COVER SHEET FOR THE PERIOD
                  SEPTEMBER 3, 2021 THROUGH AUGUST 24, 2022

                                           SECTION I
                                         FEE SUMMARY



                      Interim Fee Application No. 3 or  Final Fee Application

Date of Retention:                                  September 24, 2021 effective as of September 3,
                                                    2021
Period for which Interim Compensation and           April 1, 2022 through August 24, 2022
Reimbursement is Sought:
Period for which Final Compensation and             September 3, 2021 through August 24, 2022
Reimbursement is Sought:

                                       FEES                  EXPENSES
Total Previous Fees Requested:         $ 714,905.00          $ 1,138.67
Total Fees Allowed To Date:            $ 687,183.00          $ 1,138.67
Total Retainer (If Applicable)         $ N/A                 $ N/A
Total Holdback (If Applicable)         $ 5,544.40            $ N/A
Total Received By Applicant            $ 709,360.60          $ 1,138.67
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Interim Fee Totals:                                     $ 53,932.001
Interim Disbursements Totals:                           $ 50.002
Total Interim Fee Application                           $ 53,982.00
Total Interim Fees Paid to Date                         $ 22,177.60
Interim Amount Sought at this time                      $ 53,982.00


Final Fee Totals:                                       $ 741,115.003
Final Disbursements Totals:                             $ 1,188.67
Total Final Fee Application                             $ 742,303.67
Total Final Fees Paid to Date                           $ 710,499.27
Final Amount Sought at this time                        $ 742,303.67




   1
    The Interim Fee Period and the Final Fee Period include time spent after the Effective Date under the Professional
   Retention/ Fee Application Preparation task code in preparation of the Final Fee Application.
   2
    The date listed for expenses contained in Exhibit B does not necessarily reflect the date on which the expense was
   actually incurred by Applicant.
   3
     On February 23, 2022, BRG provided notice of its customary periodic rate increases. Pursuant to the Retention
   Order, BRG is to provide ten days’ notice (the “Notice Period”) before any increases in its rates are implemented in
   this Case. Therefore, BRG’s 2022 rate change effective date is delayed until the Notice Period has expired.
   However, internally BRG instituted these rate changes on January 1, 2022. The fee total reflects a reduction of
   $3,748.00 to offset for the increased rate between January 1, 2022 and March 5, 2022.
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Berkeley Research Group, LLC
Section I: Fees By Professional
For the Period 4/1/2022 through 9/20/2022

Professional                  Title                         Billing Rate      Hours                  Fees

D. Galfus                     Managing Director               $1,150.00         10.2            $11,730.00

F. Ashraf                     Consultant                        $475.00          7.7             $3,657.50

H. Henritzy                   Case Assistant                    $195.00          5.8             $1,131.00

J. Vizzini                    Managing Director                 $975.00         30.8            $30,030.00

K. Hendry                     Case Assistant                    $195.00         10.3             $2,008.50

M. Haverkamp                  Case Manager                      $300.00         16.0             $4,800.00

Q. Liu                        Senior Managing Consultant        $575.00          1.0               $575.00


Total                                                                           81.8           $53,932.00


Blended Rate                                                                                     $659.32




Berkeley Research Group, LLC
Invoice for the 4/1/2022 - 9/20/2022 Period
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Berkeley Research Group, LLC
Section I: Fees By Professional
For the Period 9/3/2021 through 9/20/2022

Professional                  Title                         Billing Rate      Hours                   Fees

A. Manley                     Managing Director                 $860.00           1.0              $860.00

D. Galfus                     Managing Director               $1,095.00         124.7           $136,546.50

D. Galfus                     Managing Director               $1,150.00          33.6            $38,640.00

E. Lord                       Associate                         $295.00          34.7            $10,236.50

F. Ashraf                     Consultant                        $435.00         147.1            $63,988.50

F. Ashraf                     Consultant                        $475.00          17.0             $8,075.00

G. Koutouras                  Managing Director                 $895.00          11.1             $9,934.50

H. Henritzy                   Case Assistant                    $155.00           4.1              $635.50

H. Henritzy                   Case Assistant                    $195.00          25.8             $5,031.00

J. Vizzini                    Managing Director                 $925.00         266.4           $246,420.00

J. Vizzini                    Managing Director                 $975.00          58.5            $57,037.50

K. Hendry                     Case Assistant                    $185.00           5.8             $1,073.00

K. Hendry                     Case Assistant                    $195.00          12.7             $2,476.50

K. Krishna                    Associate                         $305.00           9.9             $3,019.50

M. Bernhardt                  Managing Consultant               $635.00           0.9              $571.50

M. Haverkamp                  Case Manager                      $275.00          32.6             $8,965.00

M. Haverkamp                  Case Manager                      $300.00          23.5             $7,050.00

M. Shea                       Managing Director               $1,025.00          97.3            $99,732.50

N. Lee                        Associate                         $275.00          38.5            $10,587.50

O. Freidzon                   Director                          $725.00           8.0             $5,800.00

Q. Liu                        Senior Managing Consultant        $525.00           2.5             $1,312.50


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Professional                  Title                         Billing Rate      Hours                  Fees

Q. Liu                        Senior Managing Consultant        $575.00          4.5              $2,587.50

S. Ellerbe                    Consultant                        $400.00         47.0             $18,800.00

V. Triana                     Case Assistant                    $155.00         20.3              $3,146.50

W. Epstein                    Managing Director                 $895.00          1.8              $1,611.00

Y. Kim                        Associate                         $250.00          2.9               $725.00


Total                                                                        1,032.2          $744,863.00
Rate Change Effective Date Adjustment                                                          ($3,748.00)
Total Requested Fees                                                                          $741,115.00


Blended Rate                                                                                      $718.00




Berkeley Research Group, LLC
Invoice for the 9/3/2021 - 9/20/2022 Period
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Berkeley Research Group, LLC
Section II: Fees By Task Code
For the Period 4/1/2022 through 9/20/2022

Task Code                                                             Hours                            Fees

05. Professional Retention/ Fee Application Preparation                  36.5                     $12,649.50

06. Attend Hearings/ Related Activities                                   0.4                        $390.00

07. Interaction/ Meetings with Debtors/ Counsel                           0.5                        $487.50

08. Interaction/ Meetings with Creditors/ Counsel                         2.0                      $2,037.50

10. Recovery/ SubCon/ Lien Analysis                                       3.8                      $3,792.50

11. Claim Analysis/ Accounting                                           10.9                      $9,830.00

18. Operating and Other Reports                                           0.2                        $195.00

19. Cash Flow/Cash Management/ Liquidity                                  5.9                      $3,102.50

26. Tax Issues                                                            1.7                      $1,380.00

27. Plan of Reorganization/ Disclosure Statement                         19.6                     $19,775.00

40. Business Transaction Investigation                                    0.3                        $292.50


Total                                                                   81.8                     $53,932.00


Blended Rate                                                                                       $659.32




Berkeley Research Group, LLC
Invoice for the 4/1/2022 - 9/20/2022 Period
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Berkeley Research Group, LLC
Section II: Fees By Task Code
For the Period 9/3/2021 through 9/20/2022

Task Code                                                             Hours                             Fees

01. Asset Acquisition/ Disposition                                      193.0                     $179,573.00

04. DIP Financing                                                       157.7                     $101,514.50

05. Professional Retention/ Fee Application Preparation                 139.3                      $44,144.50

06. Attend Hearings/ Related Activities                                   8.6                       $7,818.00

07. Interaction/ Meetings with Debtors/ Counsel                          20.8                      $19,109.00

08. Interaction/ Meetings with Creditors/ Counsel                        95.7                      $84,423.50

09. Employee Issues/KEIP                                                  8.4                       $7,429.00

10. Recovery/ SubCon/ Lien Analysis                                      47.2                      $44,679.00

11. Claim Analysis/ Accounting                                           63.5                      $51,290.00

12. Statements and Schedules                                             14.5                       $7,336.50

15. Travel Time                                                           5.5                       $5,637.50

18. Operating and Other Reports                                          48.3                      $34,413.50

19. Cash Flow/Cash Management/ Liquidity                                 24.2                      $20,005.50

26. Tax Issues                                                           26.9                      $23,442.00

27. Plan of Reorganization/ Disclosure Statement                         39.0                      $38,116.00

31. Planning                                                              1.8                       $1,733.00

32. Document Review                                                       5.4                       $3,454.00

37. Vendor Management/ Analysis                                          68.3                      $24,591.00

40. Business Transaction Investigation                                   64.1                      $46,153.50


Berkeley Research Group, LLC
Invoice for the 9/3/2021 - 9/20/2022 Period
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Task Code                                                        Hours                            Fees


Total                                                            1,032.2                   $744,863.00
Rate Change Effective Date Adjustment                                                       ($3,748.00)
Total Requested Fees                                                                       $741,115.00


Blended Rate                                                                                  $718.00




Berkeley Research Group, LLC
Invoice for the 9/3/2021 - 9/20/2022 Period
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Berkeley Research Group, LLC
Section III: Expenses By Category
For the Period 4/1/2022 through 8/24/2022

Expense Category                                                                              Amount

11. Telephone, Fax and Internet                                                                 $50.00


Total Expenses for the Period 4/1/2022 through 8/24/2022                                       $50.00




Berkeley Research Group, LLC
Invoice for the 4/1/2022 - 8/24/2022 Period
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Berkeley Research Group, LLC
Section III: Expenses By Category
For the Period 9/3/2021 through 8/24/2022

Expense Category                                                                           Amount

01. Travel - Airline                                                                        $585.20

02. Travel - Train and Bus                                                                  $128.85

06. Travel - Mileage                                                                        $100.80

08. Travel - Hotel/Lodging                                                                  $288.82

11. Telephone, Fax and Internet                                                              $50.00

21. Other                                                                                    $35.00


Total Expenses for the Period 9/3/2021 through 8/24/2022                                  $1,188.67




Berkeley Research Group, LLC
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                           Summary of Fee Statements and Applications Filed

        Application                        Requested              CNO/ Order                 Paid to Date               Total Unpaid
 Date Filed
                 Period             Fees            Expenses      CNO/ Order          Fees              Expenses       Fees & Expenses
 Docket No.
 10/25/2021 9/3/2021 -                                             11/9/2021
 Dkt No. 204 9/30/2021         $   267,849.00   $          -      Dkt No. 251   $    267,849.00     $           -      $          -
 11/22/2021 10/1/2021 -                                            12/7/2021
 Dkt No. 289 10/31/2021        $   156,792.00   $        35.00    Dkt No. 308   $    156,792.00     $         35.00               -
 12/17/2021 11/1/2021 -                                             1/3/2021
 Dkt No. 325 11/30/2021        $   141,196.50   $      1,103.67   Dkt No. 337   $    141,196.50     $       1,103.67              -
                                                                   2/17/2022
  Subtotal     First Interim
                               $   565,837.50   $      1,138.67   Dkt No.405    $    565,837.50     $       1,138.67              -
  1/25/2022    12/1/2021 -                                          2/9/2022
 Dkt No. 369   12/31/2021      $    50,789.00   $          -      Dkt No. 398   $     50,789.00     $           -                 -
  2/25/2022    1/1/2022 -                                          3/14/2022
 Dkt No. 419    1/31/2022      $    46,820.00   $          -      Dkt No. 448   $     46,820.00     $           -                 -
  3/25/2022    2/1/2022 -                                          4/27/2022
 Dkt. No 457    2/28/2022      $    17,595.50   $          -      Dkt No. 486   $     17,595.50     $           -                 -
  4/25/2022    3/1/2022 -                                          5/11/2022
 Dkt No. 482    3/31/2022      $     6,141.00   $          -      Dkt No. 503   $      6,141.00     $           -                 -
                 Second                                             6/3/2022
  Subtotal
                 Interim       $   121,345.50   $          -      Dkt No. 545   $    121,345.50     $           -                 -
  5/25/2022    4/1/2022 -                                           6/9/2022
 Dkt No. 529    4/30/2022      $     5,070.50   $          -      Dkt No. 556   $      4,056.40     $           -            1,014.10
  6/21/2022    5/1/2022 -                                           7/7/2022
 Dkt No. 570    5/31/2022      $     9,626.00   $          -      Dkt No. 590   $      7,700.80     $           -            1,925.20
  7/21/2022    6/1/2022 -                                           8/5/2022
 Dkt No. 601    6/31/2022      $    13,025.50   $           -     Dkt No. 616   $     10,420.40     $            -           2,605.10
    Total                      $   714,905.00   $      1,138.67                 $    709,360.60     $       1,138.67   $     5,544.40




 I certify under penalty of perjury that the above is true.

 Date:   September 20, 2022                                            By:          /s/ David Galfus
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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY

                                                   :
  In re:                                           :   Chapter 11
                                                   :   Case No. 21-16520 (JNP)
  Aluminum Shapes, L.L.C.,                         :
                                       Debtor.     :
                                                   :   Hearing Date: Oct. 20, 2022 at 2:00 p.m. (ET)
                                                   :   Objection Deadline: Oct. 13, 2022



   THIRD INTERIM AND FINAL FEE APPLICATION OF BERKELEY RESEARCH
      GROUP, LLC FOR COMPENSATION FOR SERVICES RENDERED AND
  REIMBURSEMENT OF EXPENSES INCURRED AS FINANCIAL ADVISOR TO THE
   OFFICIAL COMMITTEE OF UNSECURED CREDITORS DURING THE PERIOD
            FROM SEPTEMBER 3, 2021 THROUGH AUGUST 24, 2022


           1.   Berkeley Research Group, LLC (“BRG”), financial advisor to the Official

 Committee of Unsecured Creditors (the “Committee”) of Aluminum Shapes, L.L.C.

 (the “Debtor”), hereby submits its third interim and final fee application (the “Application”) for

 an order pursuant to sections 330 and 331 chapter 11 of title 11 of the United States Code

 (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of the Bankruptcy Procedure

 (the “Bankruptcy Rules”), Rule 2016-1 of the Local Rules of Bankruptcy Practice and Procedure

 for the United States Bankruptcy Court of the District of New Jersey (the “Local Rules”), the

 Amended Administrative Fee Order Establishing Procedures for Allowance and Payment of

 Interim Compensation and Reimbursement of Expenses to Professional Persons, entered October

 21, 2021 [Dkt No. 193] (the “Interim Compensation Order”) and the United States Trustee’s

 Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses filed

 under 11 U.S.C § 330 effective January 30, 1996 (the “U.S. Trustee Guidelines”) seeking (a) the

 allowance of reasonable compensation for professional services rendered and reimbursement of

 actual and necessary expenses incurred by BRG to the Committee for the period from April 1,
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 2022 through August 24, 2022 (the “Interim Fee Period”)4 and (b) the allowance of reasonable

 compensation for professional services rendered and reimbursement of actual and necessary

 expenses incurred by BRG to the Committee for the period from September 3, 2021 through

 August 24, 2022 (the “Final Fee Period”) In support of the Application, BRG represents as

 follows:

                                      JURISDICTION AND VENUE

         2.       The United States Bankruptcy Court for the District of New Jersey (the “Court”)

 has jurisdiction over this matter pursuant to 28 U.S.C §§ 157 and 1334. This matter is a core

 proceeding within the meaning of 28 U.S.C. § 157(b).

         3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.       The statutory bases for the relief requested herein are sections 328, 330, and 331

 of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2016-1 and 2016-3.

                                               BACKGROUND

         5.       On August 15, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

 District of New Jersey thereby commencing the chapter 11 case (the “Case”). The Debtor

 continues to operate its business and manage its properties as debtor-in-possession pursuant to

 sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in

 this Chapter 11 Case.

         6.       On September 1, 2021 (the “Formation Date”), the Office of the United States

 Trustee for Regions 3 and 9 appointed the Committee. The Committee is presently comprised of

 five members including: (i) Public Service Electric and Gas Company; (ii) Indigo Global, LLP;

 4
  The Interim Period includes July 1, 2022 through August 24, 2022 time (the “Stub Period”), not previously
 submitted via monthly fee statement.
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 (iii) Nathan H. Kelman, Inc; (iv) Energy Power Investment Company, LLC (EPIC); and (v)

 Southeastern Extrusion & Tool, Inc.

        7.      On September 28, 2021, the Committee filed the Amended Application for Entry

 of an Order Under 11 U.S.C. §§ 328 and 1103 Authorizing the Employment and Retention of

 Berkeley Research Group, LLC as Financial Advisor, Effective as of September 3, 2021

 [Dkt No. 115] (the “Retention Application”). The Committee also selected Fox Rothschild LLP

 (“Counsel”) to serve as its counsel.

        8.      On October 6, 2021, this Court entered an order, authorizing the retention of BRG

 as the financial advisor to the Committee effective as of September 3, 2021 [Dkt No. 143]

 (the “Retention Order”).

        9.      On May 17, 2022 the Committee filed The Official Committee of Unsecured

 Creditors’ Liquidating Plan Pursuant to Chapter 11 [Docket No. 511] and the corresponding

 Disclosure Statement [Docket No. 512] (as amended the “Plan” and “Disclosure Statement”

 respectively). On August 11, 2022, the Court held a hearing regarding the approval of the

 Disclosure Statement and confirmation of the Plan and entered the order confirming the Plan. On

 August 24, 2022, the effective date of the Plan occurred (the “Effective Date”).

                                  FEE PROCEDURES ORDER

        10.     On October 21, 2021, this court signed the Interim Compensation Order. The

 Interim Compensation Order, among other things, authorized monthly interim compensation and

 expense reimbursement to case professionals prior to filing and approval of interim fee

 applications. However, monthly interim compensation is limited to eighty percent (80%) of fees

 and one hundred percent (100%) of expenses upon notice to the Application Recipients (as
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 defined in the Interim Compensation Order). The Interim Compensation Order further provides

 that each case professional shall file quarterly interim fee applications.

                            SUMMARY OF SERVICES RENDERED

        11.     BRG is a global strategic advisory and expert consulting firm that provides

 independent expert testimony, litigation and regulatory support, authoritative studies, strategic

 advice, advisory services relating to restructuring and turnaround, due diligence, valuation, and

 capital markets, and document and data analytics to major law firms, Fortune 500 corporations,

 government agencies, and regulatory bodies around the world. BRG has a wealth of experience

 in providing financial consulting in distressed scenarios and enjoys an excellent reputation for

 services it has rendered in large and complex chapter 11 cases on behalf of debtors and creditors

 throughout the United States.

        12.     Since being retained by the Committee, BRG has rendered professional services

 to the Committee as requested and as necessary in furtherance of the interests of the unsecured

 creditors of the Debtor’s estate. BRG respectfully submits that the professional services rendered

 on behalf of the Committee were necessary and have directly benefited the creditor constituents

 represented by the Committee and have contributed to the effective administration of this Case.

        13.     BRG submits that the fees applied for herein for professional services rendered in

 performing services for the Committee in this proceeding are fair and reasonable in view of the

 time spent, the extent of work performed, and the nature of the Debtor’s operational and

 financial condition, and the results obtained. BRG’s fees typically are based on the actual hours

 charged at BRG’s standard hourly rates, which are in effect when the services are rendered.

        14.     BRG expended an aggregate of 81.8 hours during the Interim Fee Period and

 1,032.2 hours during the Final Fee Period. The work involved, and thus the time expended, was
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 carefully assigned in light of the experience and expertise required for a particular task. The staff

 utilized was selected to optimize efficiencies and avoid redundant efforts.

          15.   BRG believes that there has been no duplication of services between BRG and

 any other advisors to the Committee.

          16.   BRG’s hourly rates for professionals of comparable experience, are at or below

 those of firms we consider our competitors. We believe that the compensation in this Application

 is based on the customary compensation charged by comparably skilled professionals in cases

 other than cases under Title 11.

          17.   No agreement or understanding exists between BRG and any other person for

 sharing of compensation received or to be received for services rendered in connection with the

 Case, except for internal agreements among employees regarding the sharing of revenue or

 compensation. Neither BRG nor any of its employees has entered into an agreement or

 understanding to share compensation with any entity as described in Bankruptcy Rule 2016.

          18.   BRG, in accordance with the Bankruptcy Rules and the Local Rules, will be

 charging travel time at 50% of the time incurred.

          19.   BRG maintains time records for all fees incurred. Attached hereto as Exhibit A is

 the schedule of BRG’s time records for the Stub Period. These records include daily time logs

 describing the time spent by each BRG professional in this Chapter 11 Case organized by task

 code and by date incurred. Incorporated herein by reference are the time records for the April

 through June 2022 Monthly Fee Periods, contained in the Eighth through Tenth Monthly Fee

 Statements filed on the docket as summarized above. Also incorporated herein by reference are

 the time records for the First and Second Interim Fee Periods (September 2021 through March

 2022).
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        20.     BRG also maintains records of all actual and necessary out-of-pocket expenses

 incurred in connection with the rendition of its professional services. An itemized schedule of

 expenses within each category, including description, incurred during the Stub Period in

 connection with the Cases and the amounts for which reimbursement is requested is annexed

 hereto as Exhibit B. Incorporated herein by reference are the expense records for the April

 through June 2022 Monthly Fee Periods, contained in the Eighth through Tenth Monthly Fee

 Statements filed on the docket as summarized above. Also incorporated herein by reference are

 the expense records for the First and Second Interim Fee Periods (September 2021 through

 March 2022).

        21.     The general summary of the services rendered by BRG during the Final Fee

 Period based on tasks and number of hours, is set forth below.

                          Asset Acquisition/Disposition – Task Code 01
        22.     Time charged to this task code pertains to review and analysis of documents

 related to the sale process. Specifically, BRG spent time: (i) analyzing and reviewing CIM

 prepared for Debtor; (ii) evaluating the initial and revised bid procedures and related objection;

 (iii) evaluating buyer outreach; (iv) reviewing indications of interest from bidders; (v) analyzing

 status of the sale and auction processes; (vi) reviewing analysis of bids received; (vii) reviewing

 draft APA form; (viii) reviewing stalking horse APA and related documents; (ix) reviewing the

 draft sale order; (x) analyzing implications of and documents relating to potential topping bid;

 (xi) attending 363 sale auction; (xii) analyzing objection to sale and sale hearing; and (xiii)

 reviewing revised settlement sheet and sale order related to sale closing. Additional time was

 spent on calls with Committee Counsel and various Debtor’s advisors discussing topics including

 the sale and auction process, bids received, and sale closing.

        23.     BRG has expended 193.0 hours on this category for a fee of $179,573.00.
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                                 DIP Financing – Task Code 04
        24.     Time charged to this task code primarily relates to BRG’s work related to the DIP

 budget. Specific tasks included: (i) reviewing DIP motion and declaration; (ii) reviewing DIP

 budget model; (iii) analyzing DIP comparables for UCC to determine reasonableness of current

 DIP; (iv) verifying terms of comparables dataset and updating analysis as needed; (v) reviewing

 drafts of Committee’s objection to DIP financing; (vi) preparing and editing draft declaration and

 supporting charts in support of Committee’s objection to DIP financing; (vii) exploring and

 analyzing potential alternative DIP financing; (viii) reviewing DIP settlement proposal terms and

 revisions; and (ix) reviewing revised DIP budget, Final DIP order, DIP payoff letter, and

 supporting calculations. Further time was spent preparing and reviewing updates to the

 Committee regarding the DIP financing and communicating with Committee Counsel other case

 professionals on the same.

        25.     BRG has expended 157.7 hours on this category for a fee of $101,514.50.

              Professional Retention/Fee Application Preparation – Task Code 05
        26.     Time charged to this task code pertains to the preparation and editing of BRG’s

 retention documents including the retention application, declaration, retention order, and first

 supplemental declaration. Further time was spent preparing and editing BRG’s First through

 Tenth monthly fee statements covering the period from September 24, 2021 through June 30,

 2022. Time was also spent preparing BRG’s First Interim fee application for the period

 September 3, 2021 through November 30, 2021, Second Interim fee application for the period

 December 1, 2021 through March 31, 2021 and Third and Final Interim Fee Application for the

 period April 1, 2022 through August 24, 2022. Additional time was spent preparing BRG’s

 January 2022 rate change notice.

        27.     BRG has expended 139.3 hours on this category for a fee of $44,144.50.
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                       Attend Hearings/Related Activities – Task Code 06

        28.     Time charged to this task code relates to BRG’s telephonic participation in

 hearings on topics including bid procedures, stalking horse selection, sale hearing, and the

 Debtor’s KEIP and KERP plans. Time was also spent participating telephonically in the

 confirmation hearing as a declarant in support of the Chapter 11 Plan.

        29.     BRG has expended 8.6 hours on this category for a fee of $7,818.00.

                 Interactions/Meetings with Debtors/Counsel – Task Code 07
        30.     Time charged to this task code relates to BRG’s preparation for and participation

 in meetings/calls and correspondence with the Debtor, Debtor’s counsel, Debtor’s investment

 banker, and Debtor’s financial advisor in order to receive and discuss general case information

 and status updates, including information on the sale process, DIP financing, operational issues,

 liquidity, administrative claims, tax status, the estate wind down, PPP loan forgiveness and D&O

 tail policy coverage. Additional time was spent preparing and reviewing UCC diligence request

 lists, an annotated diligence request list provided by the Debtor’s IB, and preliminary due

 diligence received.

        31.     BRG has expended 20.8 hours on this category for a fee of $19,109.00.

                Interactions/Meetings with Committee/Counsel – Task Code 08
        32.     Time charged to this task code relates to BRG’s preparation for and participation

 in meetings/calls and correspondence with the Committee and Committee Counsel on a variety

 of case issues including but not limited to: DIP financing, sale process and closing, bid

 procedures, auction, sale proceeds waterfall, recoveries, investigation items, claims, KEIP/

 KERP, liquidity, wind down budget, Plan and Disclosure Statement issues, and D&O strategy.

        33.     BRG has expended 95.7 hours on this category for a fee of $84,423.50.
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                              Employee Issues/KEIP – Task Code 09
        34.       This task code primarily pertains to review of the Debtor’s KEIP and KERP plans

 and other related documents, including the Supplemental Declaration of Solomon Rosenthal in

 support of KEIP and the draft stipulation related to the Debtor’s proposed key employee

 retention plan. Other tasks include preparation of KEIP and KERP comparables analyses and

 development of observations on same, reviewing the UST’s objection to the plans, and reviewing

 the status of the KEIP/KERP motions.

        35.       BRG has expended 8.4 hours on this category for a fee of $7,429.00.

                         Recovery/SubCon/Lien Analysis – Task Code 10
        36.       Time charged to this task code primarily relates to BRG’s evaluation of potential

 recoveries including the preparation and updating of various recovery scenario analyses and

 reports utilizing the wind down budget and claims information (as updated) received from the

 Debtor. Time was also spent discussing various claim scenarios with Counsel.

        37.       BRG has expended 47.2 hours on this category for a fee of $44,679.00

                            Claim Analysis/Accounting – Task Code 11
        38.       Time charged to this task code pertains to BRG’s review and analysis of issues

 related to claims. Specifically, time was spent reviewing and analyzing the claims register,

 contract/lease cure schedules, claims reconciliation analyses, filed claims, including

 administrative claims (to establish GUC claim recoveries), the amended IRS claim, status of

 unsecured claims, claim stipulations, and the omnibus claims objections. Additional time was

 spent (i) reconciling the Debtor’s claim pool and reporting thereon based on information

 provided by the Debtor; (ii) reviewing and responding to the U.S. Department of Justice False

 Claims Act claim; and (iii) communicating with Counsel and the Debtor’s advisors regarding

 claims issues.
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        39.     BRG has expended 63.5 hours on this category for a fee of $51,290.00.

                            Statements and Schedules – Task Code 12
        40.     This task code relates to time spent by BRG reviewing the Debtor’s Statements

 and Schedules as filed and preparing a summary report for the Committee.

        41.     BRG has expended 14.5 hours on this category for a fee of $7,336.50.

                                   Travel Time – Task Code 15
        42.     Time charged to this task code relates to non-productive travel time spent by BRG

 professionals traveling to the auction. This time is billed at 50% of the time incurred.

        43.     BRG has expended 5.5 hours (at 50%) on this category for a fee of $5,637.50.

                          Operating and Other Reports – Task Code 18

        44.     Time charged to this task code pertains to preparing update reports for regular

 UCC meetings on case status, including sale process, DIP financing, liquidity, and other case

 issues. Additional time was spent reviewing Monthly Operating Reports for August 2021,

 September 2021, and June 2022.

        45.     BRG has expended 48.3 hours on this category for a fee of $34,413.50.

                    Cash Flow/Cash Management/Liquidity – Task Code 19
        46.     This task code relates to time spent by BRG reviewing the Debtor’s cash flow

 data including the rolling 13-week budget, the actual to budget variance reports for each week,

 and the post-sale closing wind down cash budget (including updates), as well as preparing an

 analysis of professional fees incurred and paid post sale closing. Additional time was spent

 corresponding with Counsel and the Debtor’s financial advisor regarding changes to the budget,

 sale escrows, cash collateral deposits, wind down cash flows, and use of loan funds by the

 Debtor.

        47.     BRG has expended 24.2 hours on this category for a fee of $20,005.50.
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                                     Tax Issues – Task Code 26
        48.     This task code primarily relates to BRG’s review of tax documents to determine

 filing status, tax position, net operating loss carryovers, cancellation of debt income and related

 tax obligations for both federal and state taxes, reasonableness of current draft returns, and any

 tax implications or potential tax structuring opportunities related to sale or Plan. Time was also

 spent documenting our findings and corresponding with Counsel on the preparation of tax

 returns, status of the Debtor’s tax elections, and other tax related matters impacting the estate.

        49.     BRG has expended 26.9 hours on this category for a fee of $23,442.00.

                  Plan of Reorganization/Disclosure Statement – Task Code 27
        50.     Time charged to this task code relates to time spent by BRG reviewing and

 analyzing the various drafts of the Disclosure Statement, the Plan of Reorganization/

 Liquidation, the liquidation analysis, and the post-effective date trust agreement. Further time

 was spent evaluating potential Trustee candidates for the post-effective period, reviewing and

 revising the Vizzini declaration in support of the Committee’s Plan of Liquidation. Additionally,

 BRG spent time meeting with Counsel regarding the Debtor’s draft Plan as well as the

 Committee’s Plan of Liquidation and related issues.

        51.     BRG has expended 39.0 hours on this category for a fee of $38,116.00.

                                     Planning – Task Code 31
        52.     Time charged to this task code relates to developing BRG’s action plan and

 preparing and updating the case workplan.

        53.     BRG has expended 1.8 hours on this category for a fee of $1,733.00.

                                Document Review – Task Code 32
        54.     Time charged to this task code relates to BRG’s review of documents including

 first day motions, D&O policy coverage information, and other various docket filings.

        55.     BRG has expended 5.4 hours on this category for a fee of $3,454.00.
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                        Vendor Management/Analysis – Task Code 37
        56.     Time charged to this task code primarily pertains to reviewing the Debtor’s

 professional retentions including the investment banker fee arrangement against market

 comparables.

        57.     BRG has expended 68.3 hours on this category for a fee of $24,591.00.

                      Business Transaction Investigation – Task Code 40
        58.     This task code relates to time spent by BRG analyzing historical financial

 statements and other documents in the investigation of certain historical transactions. Specific

 tasks included: (i) gathering information and creating diligence lists related to potential

 investigations; (ii) preparing search and transaction summaries of general ledger accounts for

 years 2018 through 2021 and reviewing search hits; (iii) analyzing the Debtor’s solvency based

 on historical statements; (iv) evaluating D&O insurance claims and policy demand letter, (v)

 reviewing credit card statements related to investigation and potential D&O claim; (vi) searching

 proofs of claims, credit card statements, and historical disbursements for insiders; and (vii)

 corresponding via email and meeting with Counsel and other parties in interest on the same.

        59.     BRG has expended 64.1 hours on this category for a fee of $46,153.50.

                          ACTUAL AND NECESSARY EXPENSES

        60.     BRG incurred actual out-of-pocket expenses in connection with the rendition of

 the professional services to the Committee as summarized above, in the sum of $50.00 during the

 Interim Fee Period and in the sum of $1,188.67 during the Final Fee Period for which BRG

 requests reimbursement in full

        61.     Disbursements and expenses are incurred in accordance with BRG’s normal

 practice of charging clients for expenses clearly related to and required by particular matters.

 Such expenses are often incurred to enable BRG to devote time beyond normal office hours to
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 matters, which imposed extraordinary time demands. BRG endeavors to minimize these

 expenses to the fullest extent possible.

         62.     BRG’s billing rates do not include charges for photocopying, telephone and

 facsimile charges, computerized research, travel expenses, “working meals,” secretarial

 overtime, postage, and certain other office services, because the needs of each client for such

 services differ. BRG believes that it is fairest to charge each client only for the services actually

 used in performing services for such client. BRG endeavors to minimize these expenses to the

 fullest extent possible.

         63.     In providing a reimbursable service such as copying or telephone, BRG does not

 make a profit on that service. In charging for a particular service, BRG does not include in the

 amount for which reimbursement is sought the amortization of the cost of any investment,

 equipment, or capital outlay. In seeking reimbursement for service which BRG justifiably

 purchased or contracted for from a third party, BRG requests reimbursement only for the amount

 billed to BRG by such third party vendor and paid by BRG to that vendor.

                            NOTICE AND OBJECTION PROCEDURES

         64.     BRG provided notice of this Fee Application to: (a) the Debtor; (b) counsel to the

 Debtors; (c) counsel to the Committee; (d) U.S. Trustee; (e) secured creditors; (f) counsel to the

 post-petition lender; (g) all parties who have filed an entry of appearance and request for notices

 pursuant for Fed. R. Bankr. P. 2002; and (h) any other parties as the Court has designated

 (collectively, the “Notice Parties”).

         65.     Pursuant to the Interim Compensation Order, objections to this Third Interim and

 Final Application, if any, must be served no later than October 21, 2022 (the “Objection
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 Deadline”), setting forth the nature of the objection and the specific amount of fees or expenses

 at issue.

                                  NO PRIOR APPLICATION

         66.   With respect to these amounts, as of the date of the Application, BRG has

 received payments only as described herein, and no previous application for the relief sought

 herein has been made to this or any other Court.



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        WHEREFORE, BRG respectfully requests (a) that it be allowed on an interim basis, (i)

 fees in the amount of $53,932.00 for reasonable, actual, and necessary services rendered by it on

 behalf of the Committee during the Interim Fee Period and (ii) reimbursement of $50.00 for

 reasonable, actual, and necessary expenses incurred during the Interim Fee Period; (b) that it be

 allowed on a final basis, (i) fees in the amount of $741,115.00 for reasonable, actual, and

 necessary services rendered by it on behalf of the Committee during the Final Fee Period and (ii)

 reimbursement of $1,188.67 for reasonable, actual, and necessary expenses incurred during the

 Final Fee Period; (c) that the Debtor be authorized and directed to immediately pay any allowed

 unpaid fees and expenses due to BRG for the Final Fee Period; and (d) granting such other and

 further relief as the Court may deem just and proper.


Dated: September 20, 2022
       Saddle Brook, NJ                    BERKELEY RESEARCH GROUP, LLC

                                            /s/ David Galfus
                                           David Galfus
                                           Managing Director
                                           250 Pehle Avenue, Suite 301
                                           Saddle Brook, NJ 06773
                                           (201) 587-7117


                                           Financial Advisor to the Official Committee of
                                           Unsecured Creditors
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY

                                                     :
  In re:                                             :    Chapter 11
                                                     :    Case No. 21-16520 (JNP)
  Aluminum Shapes, L.L.C.,                           :
                                        Debtor.      :
                                                     :    Hearing Date: Oct. 20, 2022 at 2:00 p.m. (ET)
                                                     :    Objection Deadline: Oct. 13, 2022



                                         VERIFICATION

 DAVID GALFUS, pursuant to 28 U.S.C. § 1746, declares as follows:

                 a)    I am a Managing Director at the applicant firm, Berkeley Research Group,

 LLC (“BRG”), and am authorized to submit this verification on behalf of BRG.

                 b)    I have personally performed or supervised many of the professional

 services rendered by BRG as financial advisor to the Official Committee of Unsecured Creditors

 (the “Committee”) and am familiar with the work performed on behalf of the Committee by the

 professionals and other persons in the firm.

                 c)    I have reviewed the foregoing Application and the facts set forth therein

 are true and correct to the best of my knowledge, information, and belief.

                 d)    All services for which compensation is requested by BRG were

 professional services performed for and on behalf of the Committee and not on behalf of any

 other person.

                 e)    I have reviewed the requirements of D.N.J. LBR 2016-1 and certify to the

 best of my information, knowledge, and belief that this application complies with the same.

 Date: September 20, 2022                                Berkeley Research Group, LLC

                                                By   /s/ David Galfus
                                                        David Galfus
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Berkeley Research Group, LLC
Exhibit A: Time Detail
For the Period 7/1/2022 through 9/20/2022

Date          Professional                Hours      Description

05. Professional Retention/ Fee Application Preparation

7/19/2022     K. Hendry                        0.6   Prepared June fee application.

7/20/2022     K. Hendry                        2.6   Prepared June fee application.

7/20/2022     M. Haverkamp                     1.7   Edtied June fee statement.

7/20/2022     D. Galfus                        0.4   Reviewed BRG's June fee application.

8/8/2022      M. Haverkamp                     0.7   Reviewed professional fee claims terms in Plan of Liquidation in
                                                     regards to timing and term of final fee applications.

8/8/2022      M. Haverkamp                     0.1   Communicated with J. Vizzini and Counsel (M. Chovanes) regarding
                                                     July and August monthly fee applications.

8/30/2022     M. Haverkamp                     0.4   Reviewed parameters and next steps for final fee application.

9/7/2022      K. Hendry                        0.9   Prepared third interim and final detail.

9/7/2022      M. Haverkamp                     0.4   Prepared final fee application.

9/12/2022     K. Hendry                        2.4   Prepared third interim and final fee application.

9/12/2022     M. Haverkamp                     1.3   Edited initial draft of final fee application.

9/14/2022     K. Hendry                        1.4   Updated third interim and final fee application.

9/14/2022     K. Hendry                        1.1   Prepared third interim and final fee application.

9/20/2022     M. Haverkamp                     2.9   Edited final fee application.

9/20/2022     M. Haverkamp                     2.8   Continued editing final fee application.

9/20/2022     D. Galfus                        2.0   Reviewed BRG's final fee application.

9/20/2022     J. Vizzini                       2.0   Reviewed final draft of BRG's third interim and final fee application.

Task Code Total Hours                         23.7

06. Attend Hearings/ Related Activities




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Date          Professional                Hours     Description

06. Attend Hearings/ Related Activities

8/11/2022     J. Vizzini                      0.4   Attended telephonic confirmation hearing as declarant in support of
                                                    Committee's Chapter 11 Liquidating Plan.

Task Code Total Hours                         0.4

11. Claim Analysis/ Accounting

8/8/2022      J. Vizzini                      0.4   Reviewed draft of Committee's Second Omnibus Claims Objection and
                                                    related exhibits as provided by Counsel (S. Slater of Fox Rothschild).

8/8/2022      J. Vizzini                      0.2   Prepared email to Debtor's CRO regarding support for filed
                                                    administrative claims being objected to.

8/8/2022      J. Vizzini                      0.2   Reviewed draft certification in support of Committee's Second
                                                    Omnibus Claims Objection.

8/8/2022      J. Vizzini                      0.2   Reviewed filed proofs of claim for administrative expenses being
                                                    objected to.

8/10/2022     J. Vizzini                      0.2   Reviewed email from Debtor's financial advisor (J. Llewellyn of
                                                    Riveron) regarding administrative claims filed subject to objection.

8/10/2022     J. Vizzini                      0.1   Reviewed email from Counsel to IRS regarding amended tax claim and
                                                    claimants appearance at confirmation hearing.

8/15/2022     J. Vizzini                      0.6   Reviewed email and supporting schedules from Counsel (M. Chovanes
                                                    of Fox Rothschild) regarding status of certain administrative claims.

8/16/2022     J. Vizzini                      0.2   Held call with Counsel (M. Chovanes of Fox Rothschild) regarding
                                                    administrative claim objection and discussions with Debtor.

8/23/2022     J. Vizzini                      0.3   Reviewed UCC's second omnibus claims objection filed by Committee
                                                    Counsel (M. Chovanes of Fox Rothschild).

Task Code Total Hours                         2.4

18. Operating and Other Reports

7/21/2022     J. Vizzini                      0.2   Emailed Debtor's CRO (D. Edgecomb of Riveron) regarding June
                                                    MOR.

Task Code Total Hours                         0.2

19. Cash Flow/Cash Management/ Liquidity

7/26/2022     J. Vizzini                      0.1   Emailed Debtor's CRO (D. Edgecomb of Riveron) regarding updated
                                                    wind down cash flow.

Task Code Total Hours                         0.1

27. Plan of Reorganization/ Disclosure Statement




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Date          Professional               Hours       Description

27. Plan of Reorganization/ Disclosure Statement

8/3/2022      J. Vizzini                       2.3   Reviewed draft declaration in support of Committee Plan of
                                                     Liquidation.

8/3/2022      D. Galfus                        2.1   Reviewed draft Disclosure Statement declaration required for Plan
                                                     confirmation.

8/4/2022      J. Vizzini                       1.6   Reviewed draft declaration in support of Committee Plan of
                                                     Liquidation.

8/4/2022      D. Galfus                        0.9   Reviewed draft Disclosure Statement declaration required for Plan
                                                     confirmation.

8/4/2022      J. Vizzini                       0.9   Reviewed revised draft declaration in support of Committee Plan of
                                                     Liquidation.

8/4/2022      J. Vizzini                       0.6   Held call with Counsel (M. Chovanes of Fox Rothschild) to discuss
                                                     draft declaration in support of Committee's Plan of Liquidation.

8/4/2022      D. Galfus                        0.6   Participated in a call with Fox (M. Chovanes) re: the declaration of
                                                     Vizzini in support of confirmation.

8/4/2022      D. Galfus                        0.2   Held call with M. Chovanes (Fox Rothschild) re: the confirmation
                                                     hearing.

8/5/2022      J. Vizzini                       1.1   Reviewed final draft declaration in support of Committee Plan of
                                                     Liquidation.

8/10/2022     J. Vizzini                       1.9   Reviewed Findings of Fact, Conclusions of Law and Order Approving
                                                     Disclosure Statement and Order Confirming Committee's Plan of
                                                     Liquidation in preparation for confirmation hearing.

8/10/2022     J. Vizzini                       0.8   Participated in call with Counsel (M. Chovanes, M. Viscount and J.
                                                     DiPasquale) regarding confirmation hearing and next steps.

Task Code Total Hours                         13.0

40. Business Transaction Investigation

8/17/2022     J. Vizzini                       0.3   Responded to email from Counsel (J. DiPasquale of Fox Rothschild)
                                                     regarding analyses prepared related to investigations.

Task Code Total Hours                          0.3

Total Hours                                   40.1




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Berkeley Research Group, LLC
Exhibit B: Expense Detail
For the Period 7/1/2022 through 8/24/2022

Date              Professional                Amount    Description

11. Telephone, Fax and Internet

8/11/2022         J. Vizzini                   $50.00   Court Solutions call for Aluminum Shapes confirmation hearing.

Expense Category Total                        $50.00


Total Expenses                                 $50.00




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